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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS

Anadelia Contreras,

               Plaintiff,                                     Case No. 23-CV-830

       v.

                                      and

Peke’s Pozole, Corp. and
Jonathan Macedo,

               Defendants.


                                 STIPULATION TO DISMISS

This matter coming to be heard pursuant to agreement between Plaintiff and Defendants; the
Parties stipulates that the above captioned lawsuit shall be dismissed in its entirety with without
prejudice, with all Parties to bear their own costs, and all pending court dates to be stricken. This
dismissal without prejudice shall convert to with prejudice on August 30, 2023 unless either
party moves to reinstate the case or files a motion to enforce the settlement. The Parties consent
and agree that the Dismissal Order shall not act as a bar to enforcement of any settlement
agreement between the parties in any court of competent jurisdiction. The Parties further
consent and agree that this Stipulation to Dismiss shall not be a violation of any confidentiality
or non-disparagement provision agreed to between the Parties.

Plaintiffs

s/Daniel I. Schlade
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